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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CORY EPPS,

                            Plaintiff,

     v.                                                  Case No. 1:19-cv-00281

THE CITY OF BUFFALO,
DETECTIVE JOHN BOHEN,
DETECTIVE REGINALD MINOR,
DETECTIVE MARK STAMBACH,
DETECTIVE JAMES GIARDINA,
DETECTIVE ANTHONY COSTANTINO,
DETECTIVE ROBERT CHELLA,
RANIERO MASSECHIA, CHARLES ARONICA,
AND CHIEF JOSEPH RIGA,

                            Defendants.




 MEMORANDUM IN RESPONSE TO PLAINTIFF’S OBJECTIONS TO
    JUDGE FOSCHIO’S REPORT AND RECOMMENDATION




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                                PRELIMINARY STATEMENT

               The story told by Cory Epps in his compliant and in summary judgment briefing

is no doubt compelling. Epps’s plight may reasonably draw sympathy from judges, attorneys,

and lay-people alike. But to hold the defendants in this case liable for heinous constitutional

violations, the law requires more than a compelling and sympathetic story. Epps has not

adduced sufficient evidence as a matter of law to maintain any of the causes of action pled in his

complaint. Accordingly, the Court should adopt in full all portions of Magistrate Judge

Foschio’s Report and Recommendation (“R&R”) which carefully justifies summary judgment in

favor of the defendants.


                Epps does not object to the portions of the R&R which recommend dismissal of

his malicious prosecution claims. He has thus conceded that summary judgment is warranted as

to his two chief claims focusing on the pre-trial conduct of the individual defendants in this case.

Epps’s only remaining claim which focuses on the pre-trial conduct of the individual defendants

is his claim premised upon an alleged violation of Brady v. Maryland, 373 U.S. 83 (1963). But

Magistrate Judge Foschio was correct to recommend summary judgment as to Epps’s Brady

claim –on multiple grounds. Epps rests hus Brady claim on certain defendants failing to write

down an alleged double hearsay statement. This statement was not directly related to the actual

homicide which the defendants were investigating at the time. For the reasons stated in the

R&R, this failure does not amount to a Brady violation. More to the point though, it certainly

was not clearly established in 1998 that Brady required police officers to write the statement

down or immediately notify prosecutors that the inadmissible statement had been made. This

state of the law entitles the individual defendants to dismissal of Epps’s Brady claim based on

qualified immunity.
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               After Epps’s Brady claim, the only remaining claim against the individual

defendants is his “post-trial” or “post-conviction” due process claim. As he did in briefing

before Magistrate Judge Foschio, Epps attempts to reinvent this claim to resemble a due process

claim premised upon fabrication of evidence. The fundamental flaw with Epps’s approach,

however, is that a due process fabrication of evidence claim involves an individual’s right to a

fair trial –and thus would implicate the individual defendants’ investigative activities prior to

Epps being tried and convicted for the murder of Tomika Means. Not only is the evidence

insufficient for Epps to establish a traditional pre-trial fabrication of evidence claim, more

importantly –Epps did not plead such a claim in his complaint. Rather, Epps’s claim expressly

focuses on the individual defendants’ post-trial conduct. But the record clearly demonstrates that

any post-trial steps taken by the individual defendants were performed in their capacities as

witnesses in a judicial proceeding rather than law enforcement officers gathering or collecting

evidence. The law could not be clearer on this point –because the individual defendants were

acting as witnesses in a judicial proceeding, they are entitled to absolute immunity.


               The only remaining claim at issue after the Brady and post-trial due process claim

is Epps’s respondeat superior claim brought against the City of Buffalo. As Judge Foschio

determined, that claim should also be dismissed on multiple grounds. The respondeat superior

claim is brought pursuant to the New York State Constitution, and it invokes issues which Epps’s

own citations demonstrate have never been dealt with by New York courts. Thus, principles of

federalism and comity at the very least require dismissal of the state constitutional claim without

prejudice once Epps’s federal claims are dismissed.




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                                  STATEMENT OF FACTS

               The parties agreed prior to summary judgment briefing that dismissal was

appropriate on all of Epps’s claims against the following four individual defendants: Chella,

Aronica, Masecchia, and Riga. Dkt. 103-1; 103-2. Given this agreement, the following

statement of facts focuses only on the five individual defendants against whom Epps is still

pursuing liability: Bohen, Minor, Giardina, Stambach, and Costantino. A more complete

statement of facts can be found in the previously filed Statement of Undisputed Facts (Dkt. No.

79) and Memorandum of Law (Dkt. No. 80), both of which were filed in support of defendants’

motion for summary judgment. The facts discussed here are particularly relevant to the specific

points raised by Epps in his objections to the R&R.


A.     The Tomika Means Homicide

               Epps alleges he was wrongfully convicted for the murder of Tomika Means,

which occurred in May of 1997. Early in the morning of May 27, 1997, Ms. Means was shot by

a then unidentified perpetrator near the corner of Chelsea and East Delevan. Dkt. 78

(“Sahsrabudhe Decl.” or “Decl.”), Ex. 11 at p. 127-138. The parties do not dispute that the then

unidentified perpetrator committed the murder in a road rage incident by shooting Means at near

point blank range. (Id.). The only eye witness to the crime was Ms. Means’s friend who was a

passenger in Ms. Means’s car at the time of the shooting. (Id.). The shooter reached over herto

accomplish the murder. This friend, a young woman by the name of Jacqueline Bradley,

ultimately identified Epps as the perpetrator of the homicide, which subsequently led to Epps’s

arrest and conviction.




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B.     The Investigative Activities of Detective Bohen

               Detective John Bohen’s relevant investigative activities consist largely of

showing Bradley a photo array with Epps’s photo present. Decl., Ex. 3 at p. 83; (Decl., Ex. 35.

Detective Bohen conducted this procedure in early July, approximately a month and a half after

the Means murder. (Id.). Detective Bohen had been told by Linda Means, the homicide

victim’s aunt, that she had heard people claim that Epps may have been the perpetrator. Decl.

Ex. 35, Ex. 28, Ex. 16 at p. 6-7. Bradley picked out Epps’s photo from the photo array. She did

so confidently and without qualification. Decl. Ex. 28; Ex. 35.


               Bradley’s deposition testimony led Epps’s counsel to believe that, rather than

show Bradley a photo array, Detective Bohen in fact showed Bradley a mug book. Decl. Ex. 9 at

p. 7-12. According to Epps’s argument, Bradley’s testimony demonstrated that Epps was

originally identified by Bradley though a mug book, because she explained that she looked

through a large book with a collection of male mugshots. The parties do not dispute, however,

that at some point prior to Epps’s trial, Bradley identified Epps through accepted photo

identification procedures implemented by Detective Bohen.


               Regardless of whether Bradley identified Epps in a photo array or mug book, the

evidence unequivocally demonstrates that her initial identification of Epps’s photo occurred prior

to Epps’s trial for the Means murder, which began on April 20, 1998. Dkt. 1 at ¶ 53. Further,

any report made by Detective Bohen regarding Bradley’s photo identification occurred prior to

Epps’s trial, and any report made by Detective Boehn regarding his discussions with Bradley’s

aunt occurred prior to Epps’s trial, as well. Decl. Ex. 35, Ex. 28.




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               Detective Bohen did not participate in any of the post-trial proceedings held after

Epps’s conviction. Nor is there any evidence that Detective Bohen gathered evidence, took

statements, or generated reports relevant to the Means homicide after Epps’s trial began. In

other words, Detective Bohen was not involved in any post-trial or post-conviction investigative

activities.


C.      The Investigative Activities of Detective Minor

               The parties do not dispute that, regardless of whether Bradley viewed a mug book

or a photo array, Detective Reginald Minor’s only relevant involvement in this case stems from

his presence with Detective Bohen when he showed Bradley photos. Decl. Ex. 16 at p. 7.

Detective Minor was not involved in any other relevant investigative activity that led to Epps’s

arrest and prosecution. As with Detective Bohen, there is no evidence that Detective Minor

gathered evidence, took statements, or generated reports relevant to the Means homicide after

Epps’s trial began. In other words, like Detective Bohen, Detective Minor was not involved in

any post-trial or post-conviction investigative activities. Detective Minor also did not testify or

act as a witness in any post-trial proceedings initiated by Epps after his conviction.


D.      Bradley’s Subsequent Identification of Epps Establishing Probable Cause
        Independent of the Investigative Activities Taken by Detectives Bohen and Minor

               After Bradley had identified Epps’s photograph, Assistant District Attorney

Patricia Carrington made an application to Erie County Court for an order directing Epps to

appear for an in person lineup. Decl. Ex. 23. New York County Court Judge Timothy Drury

granted ADA Carrington’s application and ordered Epps to appear for an in person lineup. Decl.

Ex. 24. Prior to Judge Drury’s order, Epps had indicated in a statement given to detectives that

he would volunteer to appear for an in person lineup. Decl. Ex. 34.


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               Pursuant to Judge Drury’s order, on July 30, 1997, Detective Sergeant Henry

Smardz of BPD’s Evidence Collection Unit oversaw and conducted an in person lineup in which

Bradley observed Epps standing next to five fillers. Decl. Ex. 16 at p. 23-42. Detective Sergeant

Smardz is not a party to this action. The fillers were the same ethnicity as Epps, were of the

same relative age, and were of the same relative appearance. Salvatore Abate, Esq., represented

Epps and was present throughout the entire lineup. (Id.). ADA Carrington was also present

throughout the entire lineup. (Id.). Neither Mr. Abate nor ADA Carrington objected to any of

the procedures implemented during the in person lineup. In fact, ADA Carrington observed what

she considered to be a good lineup with no improprieties. Dkt. 94-2 at ¶ 4.


               After viewing Epps standing next to the five fillers, Bradley picked out Epps.

Decl. Ex. 16 at p. 23-42. After viewing him among the fillers again but in a different position,

Bradley identified Epps a second time. (Id.). Seeing Epps in person caused such an emotional

response from Bradley that she began to shake and cry. (Id. at p. 32.). In later proceedings,

ADA Carrington described Bradley’s identification at the lineup as one of the most compelling

and convincing identifications she had ever seen a witness make. Decl. Ex. 17.


               Based on Bradley’s identification at the lineup, Epps was arrested and arraigned

one day later, on July 31, 1997. A grand jury then indicted Epps on August 7, 1997. Decl. Ex.

40. The indictment was issued based on the testimony of Bradley, in questioning of ADA

Carrington. Decl. Ex. 10. ADA Carrington’s questions focused exclusively on Bradley’s

account of the murder and her identification of Epps at the lineup ordered by Judge Drury. (Id.).

There was no questioning regarding photo array procedures conducted by BPD homicide




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detectives. Based on this testimony, the grand jury decided there was probable cause to believe

that Epps had committed the Means homicide. Decl. Ex. 31.


               Importantly, ADA Carrington independently spoke with Bradley in between her

identification of Epps at the lineup and her grand jury testimony. Dkt. 94-2 at ¶ 5. During that

conversation with Ms. Bradley, Ms. Bradley did not waiver from her identification of Epps as the

perpetrator of the Means homicide. (Id.).


               Of equal importance, Detectives Bohen and Minor were not involved in the lineup

or in any subsequent interview ADA Carrington had with Bradley. Moreover, none of the five

remaining individual defendants testified during grand jury proceedings or interviewed Bradley

before her grand jury testimony.


E.     Detective Stambach’s Investigative Activities

               Detective Stambach did not investigate the Means homicide. Decl. Ex. 5 at p. 25.

He played no role in gathering any evidence which was the basis for Epps’s arrest and

prosecution. The only involvement Detective Stambach has in this case stems from an interview

he took of Wymiko Anderson on April 17, 1998. The interview occurred almost a year after the

Means homicide, many months after Epps was indicted, and only days before Epps’s trial was

set to begin. Anderson was not being interviewed in connection with the Means murder.

Detective Stambach was interviewing Anderson because she was an on and off romantic partner

of a different and more recent murder victim, Paul Pope. (Id. at p. 32.). Anderson and Pope

shared children together, and Anderson was a witness who may have had pertinent information

to give in connection with Pope’s murder.




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               During her April 17, 1998 interview, Anderson relayed to Detective Stambach

that she suspected Russell Montgomery was responsible for murdering Pope. Decl. Ex. 32.

This much is undisputed. Anderson also claims that, after detectives asked what Montgomery

looked like, she relayed to them that he looked like the composite sketch created in connection

with the Means investigation, which had been broadcast on news telecasts and in local

newspapers. Decl. Ex. 8 at p. 24-25. Anderson also claims that she relayed to Detective

Stambach that the morning of the Means murder, Montgomery, who was an associate of Pope’s,

came to get Pope from the home where he was staying with Anderson. (Id. at p. 25); Decl Ex. 12

at p. 47-50. Anderson claims that when Pope returned, he told her that Montgomery had

confessed to him that he had murdered Means. Decl. Ex. 12 at p. 47-50. Anderson alleges that

Detective Stambach did not write down this part of her statement, and that this information was

omitted from her sworn statement given in connection with the Pope homicide. The parties

dispute whether Anderson actually made this statement, but for purposes of this motion,

Anderson’s allegations are assumed to be true.


               Detective Stambach did not investigate the Means homicide after Epps’s trial

began. He did not take any statements, he did not generate any reports, nor did he develop any

evidence relevant to the Means homicide Epps for which was convicted. Detective Stambach’s

only relevant post-trial involvement with the Means homicide was the fact that he acted as a

witness in Epps’s subsequent NYCPL 440 hearing and submitted an affidavit at the request of

the Erie County District Attorneys’ Office in connection with that same proceeding. Decl. Ex.

13, 20.




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F.     Detective James Giardina’s Investigative Activities

               Detective Giardina did not play any meaningful role in the investigation of the

Means homicide, either. Decl. Ex. 6 at p. 22. He played no role in gathering any evidence

which was the basis for Epps’s arrest and prosecution. (Id.). The only involvement Detective

Giardina had in this case is that he was present with Detective Stambach when Anderson was

interviewed on April 17, 1998. Decl. Ex. 21. Thus, Detective Giardina’s only involvement here

is his failure to record Anderson’s statement regarding what Paul Pope told her about what

Russell Montgomery told him the morning of the Means murder.


               Similar to Detective Stambach, Detective Giardina did not investigate the Means

homicide after Epps’s trial began. He did not take any statements, he did not generate any

reports, nor did he develop any evidence relevant to the Means homicide after Epps was

convicted. Detective Giardina’s only relevant post-trial involvement with the Means homicide

occurred when he testified in Epps’ subsequent NYCPL 440 hearing, and submitted an affidavit

at the request of the Erie County District Attorneys’ Office in connection with the same

proceeding. Decl. Ex. 14, 21.


G.     Detective Sergeant Anthony Costantino’s Investigative Activities

               Although the fact is very much in dispute, Epps argues that Detective Sergeant

Anthony Costantino was present when Anderson relayed her alleged double hearsay statement

during her interview on April 17, 1998. However, there is no evidence of Detective Sergeant

Costantino taking relevant witness statements or developing evidence relevant to the Means

homicide after Epps’s trial began. Detective Sergeant Costantino did not conduct any relevant

post-conviction investigation related to the Means homicide which effected Epps’s post-



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conviction proceedings. Detective Sergeant Costantino’s only relevant post-conviction conduct

stems from the fact that he testified at Epps’s NYCPL 440 hearing and submitted an affidavit at

the request of the District Attorneys’ Office in connection with the same proceeding. Decl. Ex.

15, 19.


                                          ARGUMENT

               POINT I.       EPPS HAS CONCEDED THAT DISMISSAL
                              OF HIS MALICIOUS PROSECUTION
                              CLAIMS WAS APPROPRIATE

               The Court should grant summary judgment on Epps’s two claims for malicious

prosecution –especially because Epps does not specifically object to the portions of R&R which

recommend dismissal of those claims. Epps expressly abandoned his malicious prosecution

claims as to Detectives Stambach, Giardina, and Costantino, leaving only his malicious

prosecution claims against Detectives Bohen and Minor.


               “If a party fails to object to a particular portion of a report and recommendation,

further review thereof is generally precluded.” Lowell v. Lyft, Inc., 17-CV-06251, 2023 WL

2622925 (S.D.N.Y. Mar. 2023) (citing Mario v. P & C Food Mkts., Inc., 313 F.3d 758, 766 (2d

Cir. 2002)). A District Court “may adopt those portions of the report to which no specific,

written objection is made, as long as the factual and legal bases supporting the findings and

conclusions set forth in those sections are not clearly erroneous or contrary to law.” Id. (cleaned

up).


               Here, there were both a factual and legal basis for Magistrate Judge Foschio to

recommend dismissal of the malicious prosecution claims. “It is well-settled that even where a

plaintiff alleges that a malicious prosecution is based on fabricated evidence, the existence of


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probable cause independent of the fabricated evidence is a defense to that claim.” Torres v. City

of New York, 16 Civ. 6719, 2017 WL 4325822, *4 (E.D.N.Y. Sep. 2017); Hoyos v. City of New

York, 999 F. Supp. 2d 375, 290 (E.D.N.Y. 2013). Even though Epps claims that Detective

Bohen and Minor “fabricated evidence,” which they did not, summary judgment was still

warranted given the independent probable cause created by Bradley’s identification of Epps at

the lineup –which did not involve Bohen or Minor. Fappiano v. City of New York, 640 Fed.

App’x 115, 119 (2d Cir. 2016). Probable cause was also emphasized by Bradley’s subsequent

identification of Epps in her interview with ADA Carrington and during her grand jury

testimony. See id. Detectives Bohen and Minor were not involved in any of these events – all of

which created probable cause for Epps’s arrest and prosecution.


                In Bermudez v. City of New York, an instructive case, the Second Circuit affirmed

the trial court’s grant of summary judgment dismissing the plaintiff’s malicious prosecution

claims. 790 F.3d 368, 377 (2d Cir. 2015). There, the plaintiff demonstrated that police officers

had coerced witnesses into identifying him as the perpetrator of a homicide: They then fabricated

an account of the identification to the prosecutor handling the case. Id. at 372-373.

Notwithstanding this evidence, the Court held that the plaintiff could not maintain his malicious

prosecution claim. After the police’s alleged misconduct, the witnesses had independently

identified the plaintiff as the perpetrator of the homicide to the assigned prosecutor, which

created independent probable cause. Id. at 377.


               As in Bermudez, even if the Court were to adopt Epps’s wild speculation of

misconduct on the part of Detectives Minor and Bohen, there was ample probable cause for

Epps’s prosecution independent of any investigative activity taken by these two detectives. 790



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F.3d at 377. Thus, as the police in Bermudez were entitled, this independent probable cause

entitles Detectives Bohen and Minor to summary judgment on Epps’s malicious prosecution

claims.     The portions of the R&R recommending complete dismissal of Epps’s malicious

prosecution claims should thus be affirmed.


                  POINT II.         EPPS CANNOT HOLD THE INDIVIDUAL
                                    DEFENDANTS LIABLE FOR ALLEGED
                                    BRADY VIOLATIONS

                  The R&R must also be affirmed to the extent that it recommended dismissal of

Epps’s Brady based claim –which Epps pursues against Detectives Stambach, Giardina, and

Costantino only. The R&R correctly finds that the defendants are entitled to qualified immunity

with respect to the Brady claim and that Wymiko Anderson’s double hearsay statement is not

even Brady evidence.


A.        The Alleged Brady Evidence Was Not Admissible Either as Direct Evidence or
          Impeachment Evidence

                  The Court must recognize the nature and context of the statement that Anderson

allegedly made to the individual defendants –the sole statement upon which Epps builds his

Brady claim. The defendants were not interviewing Anderson in connection with the Means

homicide –they were conducting an entirely separate investigation into the Pope murder, which

occurred at a different time and in a different place. Anderson alleges that, at some point during

this interview, she told the detectives that almost a year prior, her (now dead) ex-boyfriend told

her, that Russell Montgomery confessed to him, that he (Montgomery) was the perpetrator of the

Means homicide.1 Despite Epps’s claim that this statement constituted “scathing” impeachment


1
          When compared to the strong, repeated, and unequivocal identifications of Epps by the one witness who
          made first hand observations of the Means homicide, it can hardly be argued that Anderson’s statement, if



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evidence, the reality is that this statement could never have been used by Epps’s counsel at his

trial –either as direct evidence of innocence or for impeachment.


               Conspicuously absent from Epps’s objections is any explanation as to how

Anderson’s statement actually might have been used for impeachment. If Anderson were called

to testify at trial, and she began to testify about what she heard from Pope about what

Montgomery told him, any prosecutor worth their salt would have immediately objected, and the

objection would have been quickly sustained. A similar objection would have been drawn if, on

cross-examination of Bradley, Epps’s lawyer began to ask Bradley a question mentioning

Anderson’s double hearsay statement. Again, the objection would have been summarily

sustained. There is simply no way in which Anderson’s statement would have affected the scope

of Bradley’s cross-examination or could have been used to impeach her.


               Thus, contrary to the suggestion made by Epps throughout his objections,

Anderson’s statement could not be used at trial for any purpose –including impeachment. This

fact is crucial in considering whether the defendants are entitled to qualified immunity on Epps’s

Brady claim –an issue discussed immediately below.


B.     Defendants are Entitled to Qualified Immunity on Epps’s Brady Claim

               Qualified immunity protects “all but the plainly incompetent or those who

knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986). In keeping with this

principle, federal courts hold that police officers are entitled to qualified immunity and are thus


       it was made, would have alerted the defendants to the fact that Montgomery was the true killer. Unlike
       Bradley, Anderson was not an actual witness to the Means homicide, and her statement was not even based
       on information relayed to her by a witness with firsthand knowledge of the crime–as it is undisputed that
       Paul Pope did not witness the Means murder.




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shielded from individual liability unless they violate a plaintiff’s clearly established

constitutional right. Saucier v. Katz, 533 U.S. 194, 202, 121 S.Ct. 2151, 2156 (2001). For

qualified immunity purposes, courts look to whether the law was sufficiently clear at the time of

the alleged violation such that “every reasonable [officer] would have understood that what he

was doing violated [the right at issue].” Mullenix v. Luna, 577 U.S. 7, 11 (2015). That is the

inquiry that the Court must undertake for purposes of the individual defendants qualified

immunity defense: Would every reasonable police officer in 1998 have understood that Brady

required disclosure of Anderson’s double hearsay statement to prosecutors? Id. Given the state

of the law in 1998, and even the state of the law today, the answer to that question is a

resounding “no.”


               To determine whether a right is clearly established, the Court must look to

whether, in 1998, there was sufficiently clear Supreme Court or Second Circuit authority setting

forth that the defendants’ conduct was unconstitutional. Luna v. Pico, 356 F.3d 481, 490 (2d Cir.

2004). Multiple rounds of briefing before Magistrate Judge Foschio and before this Court have

conclusively shown that no such authority existed in 1998. Epps still fails to cite a single Second

Circuit or Supreme Court case from prior to 1998 establishing that inadmissible, double hearsay

evidence, or inadmissible evidence generally, was required to be turned over under Brady.

Indeed, a review of the applicable authority on this precise issue demonstrates that the law in

1998 was not at all settled –and remains unsettled to this day in some jurisdictions.


               In Wood v. Bartholomew, the Supreme Court held that an inadmissible polygraph

test was not Brady material because the results were undoubtedly inadmissible and disclosure of

the results could have had no direct effect on the outcome of the trial. 516 U.S. 1, 6 (1995).



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Wood, however, left open the question of whether some inadmissible evidence might still be

Brady material under certain circumstances, or whether inadmissible evidence is per se non-

Brady evidence.


               After Wood was published, a Circuit split developed on the issue. Dennis v.

Sec’y, Pa. Dep’t of Corr., 834 F.3d 263, 310 (3d Cir. 2016) (describing circuit split); United

States v. Morales, 746 F.3d 310, 314 (7th Cir. 2014) (same).     The Fourth and Seventh Circuits,

for example, developed a per se rule establishing that all inadmissible evidence is by definition

not Brady evidence. See, e.g., Hoke v. Netherland, 92 F.3d 1350, 1356 n.3 (4th Cir. 1996);

Jardine v. Dittmann, 658 F.3d 772, 777 (7th Cir. 2011). Other circuits, including the Second

Circuit, eventually adopted a less restrictive rule that inadmissible evidence may nonetheless be

Brady material if its disclosure could lead to the discovery of admissible evidence. See, e.g.,

Johnson v. Folino, 705 F.3d 117, 130 (3d Cir. 2013) (“[I]nadmissible evidence may be material

if it could have led to the discovery of admissible evidence.”); Ellsworth v. Warden, 333 F.3d 1,

5 (1st Cir. 2003) (en banc). The Second Circuit’s position, however, had not been clearly

pronounced until 2002, when it issued its decision in United States v. Gil, 297 F.3d 93, 104 (2d

Cir. 2002). Indeed, the cases that discuss the Circuit split all cite to Gil as the instance where

the Second Circuit first made its position known on this issue. See, e.g., Morales, 746 F.3d at

314; Ellsworth, 333 F.3d at 5, n.4.


               Accordingly, there can be no dispute that, in 1998, there was no clear Second

Circuit or Supreme Court authority setting forth that the individual defendants were required

under Brady to disclose Anderson’s double hearsay statement to the prosecutors handling Epps’s




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case despite the statement’s complete lack of admissibility. This simple fact entitles the

defendants to qualified immunity. Luna, 356 F.3d at 490.


               Epps seeks to downplay that implications of the Circuit split by highlighting the

type of evidence that courts have subsequently held to be covered by Brady. Dkt. No. 105 at p.

17. In doing so, Epps misses the point. Defendants point in highlighting the Circuit split is to

emphasize the fact that reasonable minds –including minds making up the federal judiciary—can

disagree on whether inadmissible evidence might nonetheless be considered Brady evidence.2 If

learned jurists throughout the country differ on whether Anderson’s statement is Brady material

today, it certainly cannot be argued that every reasonable police officer in 1998 would have

recognized that Anderson’s statement needed to be turned over under Brady.


               Other attempts by Epps to argue that the defendants are not entitled to qualified

immunity similarly miss the mark. That some state and District Court decisions may have

suggested that the defendants’ conduct could have run afoul of Brady is of no moment. See, e.g.,

United States v. Gleason, 265 F. Supp. 880, 886 (S.D.N.Y. 1967); People v. Smith, 127 A.D.2d

864; People v. Lumpkins, 141 Misc. 2d 581 (Sup. Ct. Kings Cnty. 1988). The inquiry is not

whether there was some authority suggesting that the defendants’ conduct may have constituted

a Brady violation. The inquiry is whether federal authority at the time was so clear that every

reasonable officer would have understood that the defendants’ conduct constituted federal

constitutional violation. Mullenix , 577 U.S. at 11. To make that showing, Epps is required to



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       As one Circuit Court has explained: “the question of whether and when inadmissible evidence can be
       Brady material remains an open question in many jurisdictions to this day.” Beaman v. Freesmeyer, 776
       F.3d 500, 510 (7th Cir. 2015).




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cite Second Circuit or Supreme Court authority. Luna, 356 F.3d at 490. His failure to do so

demonstrates the defendants’ entitlement to qualified immunity.


                 Epps’s citation to cases like United States v. Bagley, 473 U.S. 667 (1985) and

Kyles v. Whitney, 514 U.S. 419 (1995) are also unavailing. Dkt. No. 105 at p. 13-14. Those

decisions say nothing regarding whether the ultimate admissibility of evidence effects a police

officers’ obligation to turn evidence over under Brady. Also readily distinguishable is Miller v.

Angliker, 848 F.2d 1312 (2d Cir. 1988). Epps cites this case as an example of an instance where

a court held that “alternate suspect” evidence needed to be disclosed under Brady. Dkt. 105 at p.

17. But Epps neglects to mention that, in that case, the Second Circuit expressly analyzed

whether the “alternate suspect” evidence would have been admissible. Id. at 1323-1324

(explaining that the Court had little doubt that the exculpatory evidence “would have been

admissible) (emphasis added). Nothing about Miller, therefore, would have put the defendants

on notice of the need to turn over potential alternative suspect evidence that was clearly

inadmissible.


                One aspect of Epps’s argument as to why the defendants are not entitled to

qualified immunity actually proves the defendants’ point and nicely sums up this issue. Epps

correctly points out that police officers do not have the same legal acumen as prosecutors to

make complicated legal determinations on what constitutes Brady evidence. Dkt. 105 at p. 14-

16. But that is exactly the point. Police officers cannot and should not be faced with the

prospect of individual liability every time a difficult, complex, legally nuanced Brady issue

arises. Under Epps’s view, a police officer could be held individually liable in each instance that

he or she fails to turn over to prosecutors evidence that may conceivably fall under the scope of



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Brady. But to impose such broad individual liability on police officers would invert the well-

established qualified immunity standard –which exists for good reason. The standard for

individual liability is not whether an officer’s conduct might arguably violate an individual’s

constitutional rights. Rather, the standard is whether, given the state of the law, a police officer’s

conduct inarguably violated a constitutional right, and whether this would be understood by any

reasonable officer at the time. Mullenix, 577 U.S. at 11.


                 Whether Detectives Stambach, Giardina, and Costantino were required to

disclose to prosecutors a double hearsay statement made during their investigation of a separate

crime committed many months after the Means homicide was a complicated and nuanced legal

question in 1998. It is a complicated and nuanced legal question today. Certainly, reasonable

officers in 1998 may have differed in their understanding of whether such a statement was

required to be turned over under Brady. This fact alone entitles the defendants to qualified

immunity, and necessitates that the R&R should be adopted to the extent it recommends

dismissal of Epps’s Brady claim.


C.     The Alleged Suppression of Anderson’s Statement was not a Brady Violation

               The R&R should also be adopted because the record does not show that the

defendants actually committed a Brady violation. Police officers may be held liable for Brady

violations only when they intentionally suppress exculpatory evidence. Valentin v. City of

Rochester, 11-CV-6238, 2018 WL 5281799, at *12-*13 (W.D.N.Y. Oct. 2018). As Magistrate

Judge Foschio correctly noted, a mere failure to write down or take notes during a statement

made by a witness does not constitute a Brady violation. United States v. Rodriguez, 496 F.3d

221, 224-225 (2d Cir. 2007).



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               Here, Epps takes issue with the fact that the defendants did not write down

Anderson’s double hearsay statement tentatively implicating Russell Montgomery as the

perpetrator of the Means homicide when they were investigating a separate crime. But

Rodriguez teaches that this alone does not constitute a Brady violation. 496 F.3d at 224-225.

Moreover, Epps cannot establish a Brady violation based on the detectives’ failure to realize the

relevance of Anderson’s statement and then immediately notify the prosecutor in charge of

handling the Means case. Reid v. Simmons, 163 F. Supp. 2d 81, 92-93 (D.N.H. 2001)

(discussing Brady obligations of police officers during when they investigate separate, seemingly

unrelated crimes). Police officers are not obligated under Brady to hastily notify prosecutors

every time they come across evidence which may arguably be relevant to one of the prosecutor’s

ongoing matters. See id. For these reasons, Magistrate Judge Foschio was correct in holding

that the detectives did not commit a Brady violation. This is further reason why the R&R should

be adopted.


               Also, a Brady violation cannot be shown where courts must resort to speculation

to determine what admissible evidence may have been discovered through disclosure of

materials which themselves are not admissible. Downs v. Hoyt, 232 F.3d 1031, 1037 (9th Cir.

2000) (upholding denial of Brady claim where petitioner resorted to speculation regarding what

admissible evidence might have been discovered) (emphasis added). Here, Epps has put forth

many theories of how disclosure of Anderson’s statement might have changed the outcome of his

trial, but he has not concretely shown what admissible evidence would have been discovered by

him or his counsel if Anderson’s statement was disclosed. Because there is no way to determine

how its disclosure could have led to admissible evidence without resorting to rampant




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speculation, the defendants cannot be said to have violated Brady. Downs, 232 F. 3d at 1037.

For this reason, too, the R&R correctly recommended dismissal of Epps’s Brady claim.


               POINT III.      THE INDIVIDUAL DEFENDANTS ARE
                               ENTITLED TO ABSOLUTE IMMUNITY ON
                               EPPS’S POST-TRIAL DUE PROCESS CLAIM

               The R&R also correctly recommends dismissal of Epps’s “post-trial due process”

claim. Epps cannot be permitted at this late stage to constructively amend this claim to advance

a due process “fabrication of evidence” claim, which was not pled and invokes an entirely

different set of rights and considerations. When the evidence is considered in the context of the

actual claim pled by Epps in his complaint, it is clear that the defendants are entitled to summary

judgment.


A.     Epps Must Not Be Permitted to Constructively Amend the Complaint to Assert a
       Pre-Trial Fabrication of Evidence Claim

               In arguing that his post-conviction due process claim should be allowed to

proceed to trial, Epps surveys case-law from within this Circuit explaining and describing an

entirely different cause of action available to civil rights plaintiffs – a cause of action stemming

from a police officer’s pre-trial fabrication of evidence. Dkt. 104 at p. 23; See, e.g., Ricciuti v.

N.Y.C. Transit Auth., 124 F.3d 123, 130 (2d Cir. 1997); Garnett v. Undercover Officer, C0039,

838 F.3d 265, 277 (2d Cir. 2016) (emphasis added). The very case law cited by Epps reveals

that the right implicated by such a cause of action is an individual’s due process right to a fair

trial. Frost v. New York City Police Department, 980 F.3d 231, 250 (2d Cir. 2020) (describing

cause of action as focused on “fair trial right against deprivation of liberty that results when a

police officer fabricates and forwards evidence to prosecutor that would likely influence a jury’s

decision”) Ricciuti, 123 F.3d at 130 (“when a police officer creates false information likely to


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influence a jury’s decision and forwards that information to prosecutors, he violates the

accused’s constitutional right to a fair trial”) (emphasis added); see also Buari v. City of New

York, 530 F. Supp. 3d 356, 389 (S.D.N.Y. 2021)). While Epps may technically be correct that

“fabricated” evidence need not actually be used in a trial to pursue such a claim, the case law he

cites reveals that the fabrication of evidence must have the potential to influence the outcome of

a trial –thus establishing that the right at issue under such a claim is decidedly a pre-trial right.

Smalls v. Collins, 10 F.4th 117 (2d Cir. 2021) (allowing fabrication of evidence claim to proceed

where fabricated evidence did influence a pre-trial suppression hearing and thus could have

impacted a subsequent trial); Frost, 980 F.3d at 260 (emphasizing that cause of action can be

maintained where the fabricated evidence could have had an influence of a jury’s ultimate

decision).


               Thus confusing are Epps’s attempts to save his post-trial due process claim by

relying on this line of authority –which clearly focuses on an individual’s pre-trial rights. If

Epps had wanted to bring a claim for pre-trial fabrication of evidence, nothing prevented him

from doing so. He was more than capable of pleading a fabrication of evidence claim along with

his other pre-trial claims for malicious prosecution and for an alleged Brady violation. Brandon

v. City of New York, 705 F. Supp. 2d 261 (S.D.N.Y. 2010) (setting forth that civil rights plaintiffs

may simultaneously bring malicious prosecution and fabrication of evidence claims in the same

action). He chose not to plead one. And the defendants were entitled to conduct discovery,

pursue defenses, and develop their litigation strategy accordingly.


               Indeed, to allow Epps to constructively amend his complaint at this late stage to

include a due process fabrication of evidence claim –when such a claim is decidedly absent from



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any pleading- would be incredibly unfair and prejudicial to the defendants. The reality that

certain facts pled in the complaint may have been consistent with a due process fabrication of

evidence claim does not excuse Epps from failing to assert such a claim in his complaint, and

this failure prevents Epps from constructively amending his complaint after discovery has

closed. In this regard, Palmer v. Monroe County Sherriff, a decision from this District, is

particularly instructive. 378 F. Supp. 284, 290-291 (W.D.N.Y. 2005) (Siragusa, J.). There, two

plaintiffs sought leave to amend their complaint after the close of discovery. Id. at 286. The

plaintiffs requested leave to assert a cause of action for fabrication of evidence when the

operative pleading only stated a claim for malicious prosecution. Id. at 287. Magistrate Judge

Feldman and subsequently District Judge Siragusa denied the plaintiffs’ request. Given that

discovery had closed and there was “no evidence that the defendants ever understood that the

plaintiffs were seeking to assert a [fabrication of evidence claim]” the plaintiffs were not entitled

to amend their complaint at such a late stage of the litigation. Id. at 291.


                Epps’s attempt to re-frame his post-trial cause of action to assert a due process

fabrication of evidence claim mirrors the request by the plaintiffs in Palmer to amend their

complaint. As in Palmer, because no due process fabrication of evidence claim has ever been

articulated by Epps until now when discovery has closed and defendants have moved for

summary judgment, he must not be permitted to pursue such a claim. Accordingly, Epps’s

belated invocation of the “fabrication of evidence” cause of action is not a ground disturb

Magistrate Judge Foscho’s recommendation that the post-trial due process claim be dismissed.3



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       It also bears noting that Epps would not even be able to maintain a pre-trial fabrication of evidence claim
       against any of the five remaining individual defendants. With respect to Detectives Stambach, Giardina,
       and Costantino, Epps exclusively complains of their alleged suppression of Anderson’s alleged double



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B.     There is no Evidence of Post-Trial Fabrication of Evidence or a Post-Trial
       Constitutional Violation Committed by Detectives Bohen and Minor

               The rights of an individual who has gone through a trial and been convicted are

far more limited than an individual who is being investigated for a crime or an individual

charged with a crime who awaits trial. Pierre v. City of Rochester, 16-CV-6428 , 2018 WL

10072453, at *17 (W.D.N.Y. Sep. 2018) (citing Dist. Attorney's Office for the Third Judicial

Dist. v. Osborne, 557 U.S. 52, 68 (2009)). Although the extent of post-conviction rights has not

been robustly discussed in case law, what is clear is that a police officer must actually have been

involved in some form of post-conviction investigative activity to be held liable for a post-

conviction deprivation of rights. See Howard v. City of Durham, 68 F.4th 934, 940, 944 (4th Cir.

2023) (holding that two officers could be held liable under similar claim based on their having

conducted interviews and gathered evidence decades after the plaintiff was convicted).


               For this simple reason, Epps’s post-trial due process claim against Detectives

Bohen and Minor fails as a matter of law. Bohen and Minor did not collect evidence, interview

witnesses, or conduct any relevant investigative activity related to the Means homicide after

Epps’s criminal trial began in 1998. They were not even witnesses in any post-conviction

proceedings. To remind the Court, the only relevant involvement Bohen and Minor have in this

case is their implementation of photo identification procedures with Jaqueline Bradley –which




       hearsay statement or, in other words, a Brady violation. But a due process claim premised upon Brady is
       legally distinguishable from a claim premised upon fabrication of evidence. Ortiz v. Wagstaff, 523 F. Supp.
       3d 347, 367 (W.D.N.Y. 2021) (fabrication of evidence is not redressable as a Brady violation). Moreover,
       there is absolutely no evidence establishing that the photo array conducted by Detectives Bohen and Minor
       was fabricated or made up. So a pre-trial fabrication of evidence claim would not lie against those
       defendants, either.




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indisputably happened prior to Epps’s trial and conviction.4 In no way can Detectives Bohen

and Minor be said to have committed a post-trial deprivation of Epps’s constitutional rights. The

R&R should thus be adopted to the extent it recommends dismissal of the post-trial claim against

these two defendants.


C.     Detectives Stambach, Giardina, and Costantino are Entitled to Absolute Immunity
       on Epps’s Post-Trial Due Process Claim

               With respect to Detectives Stambach, Giardina, and Costantino, the conduct that

Epps takes issue with involves their alleged pre-trial suppression of Anderson’s statement. Epps

could not even maintain a “fabrication of evidence” claim against these defendants for this

conduct, as a Brady-based due process violation is conceptually distinct from a due process

violation based upon the fabrication of evidence. Ortiz v. Wagstaff, 523 F. Supp. 3d 347, 367

(W.D.N.Y. 2021) (fabrication of evidence is not redressable as a Brady violation). Epps also

cannot maintain a post-trial due process claim for this alleged pre-trial suppression, as “there is

no freestanding substantive due process right to Brady-like disclosure post-conviction.” Pierre,

2018 WL 10072453 at *17 (citing Ermichine v. United States, No. 06 CIV. 10208, 2011 WL

1842951, at *13 (S.D.N.Y. May 12, 2011)). Under this law, the alleged pre-trial suppression of

Anderson’s statement is not a basis to hold Detectives Stambach, Giardina, and Costantino liable

under Epps’s post-trial claim.




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       For this reason, the clear implication of Epps’s pleading is that the only claims applicable to Detectives
       Bohen and Minor were Epps’s pre-trial malicious prosecution claims, as Bohen and Minor were not
       involved in the event giving rise to Epps’s Brady claim. Defendants proceeded with discovery, developed
       their litigation strategy, and moved for summary judgment based on this understanding –an understanding
       that was developed from a plain reading of the complaint.




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               Left for these three defendants when the alleged pre-trial suppression claim is

removed is their participation in Epps’s post-trial proceedings as witnesses. That is what Epps’s

post-trial due process claim targets. Dkt. No. 1 at ¶ 119 (“Plaintiff filed motions under CPL §

330 and § 440 and was granted a hearing pursuant to CPL § 440. Plaintiff has a right to a fair and

honest consideration of his motions and to a fair hearing, based on full disclosure of the true

facts by all relevant witnesses, including the Defendant Detectives) (emphasis added). And that

is what the parties understood Epps’s post-trial due process claim to be about throughout this

litigation –his claim that the defendants lied when they acted as witnesses during post-trial

proceedings. The fundamental problem with Epps’s approach is that witnesses, including police

officers, are entitled to absolute immunity for acts done in their capacity as participants in a

judicial proceeding. Sykes v. James, 13 F.3d. 515, 520 (2d Cir. 1993) (“Functional categories,

rather than the status of the defendant, control immunity analysis, and functions most apt to be

accorded absolute immunity are those integrally related to the judicial process”).


               The only post-conviction conduct by Stambach, Giardina, or Costantino which

Epps can credibly claim “undermined” his post-trial proceedings was their testimony at his

NYCPL 440 hearing, or the affidavits they submitted as fact witnesses for the exact same

proceeding. When they testified and submitted affidavits they were acting as witnesses to an

ongoing judicial proceeding as opposed to acting in their capacity as law enforcement officers

collecting and gathering evidence. For this reason, Stambach, Giardina, and Costantino are

entitled to absolute immunity on Epps’s post-trial due process claim. Briscoe v. LaHue, 460

U.S. 325, 326 (1983); Sykes, 13 F.3d at 519-520. They are absolutely immune from liability,




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even if their testimony and affidavits were, as Epps claims, perjurious. Collins v. City of New

York, 923 F. Supp. 2d 462, 473 (E.D.N.Y. 2013).


               Accordingly, this Court should also adopt the portions of the R&R which

recommend dismissal of Epps’s post-trial due process claim against Detectives Stambach,

Giardina, and Costantino.


               POINT IV.      DISMISSAL IS WARRANTED AS TO EPPS’S
                              REMAINING STATE-LAW CLAIM

               Epps pursues his fifth and final cause of action against the City of Buffalo only.

That claim seeks to hold the City of Buffalo liable under a theory of respondeat superior and is

brought pursuant to the New York State Constitution. The claim should be dismissed for

multiple reasons. The Court can certainly dismiss the claim with prejudice but, at the very least,

the Court should decline to retain supplemental or pendent jurisdiction over this claim once all of

the federal claims are dismissed.


A.     Epps’s Remaining State-Law Constitutional Claim Must be Dismissed With
       Prejudice Because there was no Underlying Constitutional Violation

               Epps cannot recover against the City on his state-law due process claim if the

Court finds that none of the individual defendants violated his constitutional rights or committed

any state-law torts against him. Because there is no individual liability on the part of any

individual defendant or on the part of any unnamed individual acting as an employee or agent of

the City, Epps cannot obtain liability against the City under a theory of respondeat superior. The

claim should therefore be dismissed with prejudice. Coleman v. City of Rochester, No. 16-CV-

6179, 2018 WL 6727535 at *6 (W.D.N.Y. Dec. 2018) (dismissing plaintiff’s state constitutional




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claims where he had “not demonstrated any basis for liability on the part of any of the City’s

agents or employees”).


               Further, even if Epps were able to show that his constitutional rights were

violated, he cannot maintain a state-law due process claim against the City. Plaintiffs can assert

respondeat superior claims under the New York State Constitution only when no other state laws

provide an “adequate alternative remedy.” Issac v. City of New York, No. 16-CV-472, 2018 WL

5020173 at *19-20 (E.D.N.Y. Aug. 2018).


               Here, New York law provides someone in Epps’s position with an adequate

alternative remedy to seek redress for the alleged constitutional violations at issue. Epps was

prosecuted and convicted. As a result, New York’s post-conviction remedies provided him with

an adequate alternative way to address the alleged unconstitutional activities by the defendant

detectives. This is not a situation where Epps was never prosecuted and thus has no means of

seeking redress other than through an action for damages. Cf. Brown v. State of New York, 89

N.Y.2d 172, 192, (1996). Epps can and did incoke New York’s post-conviction remedies in an

effort to seek recompense for the individual defendants’ alleged misconduct. In one instance, he

was unsuccessful. Years later, he was able to obtain a reversal of his conviction. Because Epps

was not left in a “damages or nothing” situation, he cannot maintain his state-law due process

claim. Martinez v. City of Schenectady, 97 N.Y.2d 78, 83-84 (2001) (dismissing identical claim

where plaintiff had shown “no grounds that would entitle her to a damage remedy in addition to

the substantial benefit she already had received from dismissal of the indictment and release

from incarceration”). For this reason, too, Epps’s final cause of action must be dismissed with

prejudice.



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B.     At the Very Least, the Remaining State-Law Constitutional Claim Should be
       Dismissed Without Prejudice

               If the Court is not inclined to dismiss Epps’s remaining state-law claim with

prejudice, dismissal without prejudice is warranted under the circumstances presented here. For

the reasons addressed in Points I-III supra., all of Epps’s federal claims must be dismissed. With

each of Epps’s federal claims dismissed, the Court has the authority and discretion to decline to

retain pendent jurisdiction over the remaining state law claim. O’Brien v. Yugartis, 54 F. Supp.

3d 186, 193-194 (N.D.N.Y. 2014) (“in the usual case in which all federal-law claims are

eliminated before trial, the balance of factors will point toward declining to exercise jurisdiction

over the remaining state-law claims”) (citing Kolari v. New York–Presbyterian Hosp., 455 F.3d

118, 122 (2d Cir. 2006)) (other citations omitted) (cleaned up).


               Of particular concern here is what the correct approach would be if certain federal

claims were dismissed on qualified immunity grounds. In this regard, Epps’s citation to Tirolo v.

Nassau County raises more questions than it answers. 24 F.4th 98, 111-113 (2d Cir. 2022). That

case involved a very unique procedural posture. A federal claim was permitted to proceed to

trial against an individual defendant while a state-law respondeat superior claim was

simultaneously permitted to proceed against a County defendant. Id. at 104-105. Based on the

trial evidence, the District Court correctly concluded that the individual defendant was entitled to

qualified immunity on the federal claim, notwithstanding the fact that the jury had entered a

verdict in the plaintiff’s favor on that claim. Id. at 105, 108-109. But the jury also found in

favor of the plaintiff against the County defendant on the state-law respondeat superior claim

similar to the one Epps brings in this case. Id. at 105, 110-112. Given that the case had already

gone to trial and a verdict had already been rendered in the plaintiff’s favor, the Second Circuit



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held that dismissal without prejudice was not the appropriate approach to take at that juncture.

Id. at 113, n. 11.


                Both the majority opinion and the concurring opinion in Triolo, however,

expressly acknowledge that no New York court has ever addressed the precise issue presented

here. Id. at 111 (majority opinion explaining that New York courts have only found vicarious

liablity in other contexts; 114 (concurring opinion acknowledging that “not a single New York

court has addressed the issue). That is, no New York court has ever decided whether a state-law

respondeat superior claim can be maintained against a municipality when the municipality’s

employee has been dismissed from the case on qualified immunity grounds. Further, both the

majority and comity opinions in Triolo acknowledge principles of federalism and comity dictate

that it would be preferable for a New York court to weigh in on the issue in the first instance. Id.

at 113, n. 11; 114-115.


                Because the unique procedural posture presented in Triolo is not before this

Court, the Court should decline to retain jurisdiction over the remaining state-law claim. The

parties have not gone to trial, no verdict or judgment has been rendered, and Epps would have

six months to re-file his state law claim in New York state court if the claim were dismissed

without prejudice. CPLR § 205(a). This unique and complex state-law issue should be left to

New York State courts. In other words, if certain defendants are dismissed only on qualified

immunity grounds, then it should be left to New York courts to determine whether Epps may

nonetheless pursue the City of Buffalo on a respondeat superior theory of liability under New

York law.




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                      For these reasons, at a minimum, dismissal without prejudice is warranted as to

Epps’s state-law respondeat superior claim. The portions of the R&R recommending dismissal

of that claim should be adopted in full.


                                               CONCLUSION

                      For the foregoing reasons, the defendants respectfully request that the Court adopt

each portion of the R&R which recommends summary judgment in favor of defendants.


Dated:                Buffalo, New York
                      July 26, 2023
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